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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


   NACSO NON-PROFIT BUSINESS
   LEAGUE INC.,

          Plaintiff,
                                                      Case No.:
   v.

   CONSUMER FINANCIAL
   PROTECTION BUREAU,

          Defendant.


                         COMPLAINT FOR DECLARATORY RELIEF

         Plaintiff, Nacso Non-Profit Business League Inc. (“NACSO”), by and through undersigned

  counsel, brings this action against Defendant, the Consumer Financial Protection Bureau (“CFPB”

  or “Defendant”), as a facial and applied challenge to an unconstitutional and a statutorily

  unauthorized, and thus unlawful, regulation infringing on the fully-protected speech of credit

  repair organizations. This Complaint seeks a declaratory judgment as to the invalidity and

  unenforceability of a provision of what is commonly referred to as the Telemarketing Sales Rule

  as defined and set forth below.

  I.     PRELIMINARY STATEMENT

         NACSO is a non-profit national association that strives to educate its members, which

  include credit repair organizations, so they are able to provide their much needed and desired

  services to help consumers while supporting and facilitating the compliance with reasonable laws

  and regulations to safeguard those consumers. However, the CFPB recently has sought to enforce

  against NACSO’s members an overreaching, unconstitutional, and inapplicable regulation

  contrary to law thereby making this lawsuit necessary. Credit repair organizations are governed by

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  the legislatively enacted Credit Repair Organizations Act. Yet, the CFPB has recently sought to

  apply and to enforce a provision of a Telemarketing Sales Rule that is not promulgated under the

  Credit Repair Organizations Act, which rule prohibits NACSO’s members from being paid for

  their services until at least six months after those services have been rendered. This arbitrary six-

  month waiting period eviscerates the ability of NACSO’s members to be paid for work already

  performed and puts the full burden of the consumer’s credit status on the credit repair

  organizations, long after the credit repair services were provided. This result is not only unfair and

  contrary to the legislatively enacted Credit Repair Organizations Act, but also contrary to law as

  the ability to create a “time and manner” restriction is nowhere within the congressional mandate

  granting any agency authority to promulgate the six-month waiting period set forth in the

  Telemarketing Sales Rule in the first instance. Indeed, circumstances completely outside the

  control of the members of NACSO, such as the present Covid-19 crisis, unfortunately could negate

  the credit repair service results achieved by NACSO members for consumers in the same six (6)

  month window thereby impacting NACSO members’ ability to be paid for services that they fully

  performed and that they are entitled to be paid.

  II.    INTRODUCTION

         1.      This civil action seeks a declaratory judgment pursuant to the Administrative

  Procedure Act, 5 U.S.C. §§ 702 et seq. and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and

  2202 to restrain Defendant from acting under the color of law to deprive credit repair organizations,

  including members of NACSO, of their constitutional rights secured by the First Amendment to

  the United States Constitution.

         2.      Specifically, NACSO seeks judicial review of the prohibition on a credit repair

  organization to be able to request or receive payment for services it already rendered for a minimum



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  six-month period of time after those services are rendered as set forth in the Telemarketing Sales

  Rule, 16 C.F.R. § 310.4(a)(2)(ii) (the “TSR”), and a declaration that the TSR: (a) exceeds the

  statutory authority conferred by the Telemarketing and Consumer Fraud and Abuse Prevention

  Act, 15 U.S.C. §§ 6101 et seq. (the “Telemarketing Act”); (b) conflicts with the Credit Repair

  Organizations Acts, 15 U.S.C. §§ 1679 et seq. (“CROA”); and (c) is an illegal and unenforceable

  violation of the First Amendment rights of credit repair organizations that improperly impairs

  fully-protected speech because it is content-based and cannot withstand scrutiny.

         3.      The CFPB has enforced, and continues to show that it intends to enforce, the TSR

  against credit repair organizations, including members of NACSO. Along these same lines, the

  CFPB is encouraging consumer reporting agencies to not investigate “disputes submitted by credit

  repair organizations and disputes they reasonably determine to be frivolous or irrelevant.” See

  https://files.consumerfinance.gov/f/documents/cfpb_credit-reporting-policy-statement_cares-

  act_2020-04.pdf (last visited, May 7, 2020).

         4.      In both instances, the CFPB continues to financially burden NACSO members

  based on the content of their speech, which reflects the CFPB’s preference and attempts to

  unlawfully silence the speech of credit repair organizations in violation of the First Amendment.

  III.   PARTIES

         5.      NACSO is a non-profit association of organizations within the credit repair industry

  which association is headquartered in Broward County, Florida and organized pursuant to

  §501(c)(6) of the Internal Revenue Code. NACSO provides education for its members, advocates

  industry standards and ethical business practices for the credit repair industry, and promotes

  compliance with applicable laws throughout the credit repair industry. In addition to face-to-face




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  contact with persons, NACSO members make calls to, and receive calls from, persons whose credit

  worthiness or credit standing may be improved by the services of NACSO members, respectively.

          6.     The CFPB is an agency of the executive branch of the United States government

  responsible for, inter alia, “regulating the offering and provision of consumer financial products

  or services under the Federal consumer financial laws.” 12 U.S.C. § 5491.

  IV.     JURISDICTION

          7.     Jurisdiction is conferred upon this Court pursuant to 28 U.S.C. § 1331 and

  Article III of the Constitution.

          8.     The TSR constitutes final agency action subject to judicial review under the

  Administrative Procedure Act, 6 U.S.C. §§ 702 et seq.

  V.      VENUE

          9.     Venue is proper in this judicial district pursuant to 28 U.S.C. 1391(e)(1) and 5

  U.S.C. § 703 because NACSO is headquartered in this District and no real property is involved in

  this action.

  VI.     STANDING

          10.    NACSO has Article III standing as an organization to bring suit on behalf of its

  members. See Friends of the Earth v. Laidlaw Environmental. Servs. Inc., 528 U.S. 167, 181

  (2000); Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009). Specifically:

                 (i)     NACSO’s members provide services to individuals in an effort to improve

  such individuals’ credit history, credit record, or credit rating (i.e., credit worthiness and credit

  standing) and are compensated for such services, and, thus, would have standing to sue in their

  own right to seek the declaratory relief sought herein as they are subject to Defendant’s

  inapplicable enforcement of the TSR;



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                 (ii)    the declaratory relief sought herein is germane to NACSO’s purpose of

  educating its members as to the applicable law within the credit repair industry, advocating

  industry standards and ethical business practices for the credit repair industry, and promoting

  compliance with applicable laws throughout the credit repair industry; and

                 (iii)   the declaratory relief sought herein does not require the participation of

  NACSO’s members.

  VII.   STATEMENT OF FACTS

         11.     In 1914, Congress enacted the Federal Trade Commission Act that created and

  established the Federal Trade Commission (“FTC”). 15 U.S.C. §§ 41 et seq.

         12.     Pursuant to the Federal Trade Commission Act, the FTC is authorized to prevent

  certain persons and entities from using “unfair methods of competition in or affecting commerce

  and unfair or deceptive acts or practices in or affecting commerce.” 15 U.S.C. § 45(a).

         13.     Congress limited the FTC’s authority to make unfair and deceptive determinations

  in rulemaking proceedings by imposing special procedural and judicial review requirements for

  the FTC’s conduct that exceed those otherwise contained in the Administrative Procedure Act.

  See 15 U.S.C. § 57a.

         14.     The FTC is an agency of the executive branch of the United States government

  responsible for, inter alia, enforcing compliance with CROA. In 1994, Congress enacted the

  Telemarketing Act that that provides “consumers necessary protection from telemarketing

  deception and abuse.” 15 U.S.C. § 6101(5).

         15.     Towards this end, the Telephone Act authorized the FTC to prescribe rules and

  regulations prohibiting deceptive telemarketing acts or practices and other abusive telemarketing




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  acts or practices as set forth in the Telemarketing Act and enforcing compliance with such rules

  and regulations. 15 U.S.C. § 6102.

           16.   The Telemarketing Act provides that such rules respecting “abusive telemarketing

  acts or practices” must include:

                 (A) a requirement that telemarketers may not undertake a pattern of unsolicited
                 telephone calls which the reasonable consumer would consider coercive or abusive
                 of such consumer’s right to privacy, (B) restrictions on the hours of the day and
                 night when unsolicited telephone calls can be made to consumers, (C) a requirement
                 that any person engaged in telemarketing for the sale of goods or service shall
                 promptly and clearly disclose to the person receiving the call that the purpose of
                 the call is to sell goods or services and make such other disclosures as the
                 Commission deems appropriate, including the nature and price of the goods and
                 services; and (D) a requirement that any person engaged in telemarketing for the
                 solicitation of charitable contributions, donations, or gifts of money or any other
                 thing of value, shall promptly and clearly disclose to the person receiving the call
                 that the purpose of the call is to solicit charitable contributions, donations, or gifts,
                 and make such other disclosures as the Commission considers appropriate,
                 including the name and mailing address of the charitable organization on behalf of
                 which the solicitation is made.

  15 U.S.C. 6102(a)(3).

           17.   Importantly and as it relates to the compensation for the sale of goods or services

  in the context of “abusive telemarketing acts or practices,” the FTC was not given authority to

  regulate the time or manner in which a “person engaged in telemarketing” is so compensated, but

  rather was given the limited authority to regulate “disclosures…the Commission deems

  appropriate, including the nature and price of the goods and services.” 15 U.S.C. § 6102 (a)(3).

           18.   In response and pursuant to the authority granted by the Telemarketing Act, the

  FTC promulgated the TSR concerning “abusive telemarketing acts or practices.” See 16 CFR §

  310.4.

           19.   The TSR states, in pertinent part:

                 It is an abusive telemarketing act or practice and a violation of this Rule for any
                 seller or telemarketer to engage in the following conduct: [r]equesting or receiving

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                   payment of any fee or consideration for goods or services represented to remove
                   derogatory information from, or improve, a person’s credit history, credit record,
                   or credit rating until [t]he seller has provided the person with documentation in the
                   form of a consumer report from a consumer reporting agency demonstrating that
                   the promised results have been achieved, such report having been issued more
                   than six months after the results were achieved.

  16 C.F.R. § 310.4(a)(2)(ii) (emphasis added).

         20.       The FTC has not sought to enforce the TSR’s six-month rule against credit repair

  organizations.

         21.       Notwithstanding, the CFPB believes it is authorized to enforce the TSR against

  credit repair organizations pursuant to the Consumer Financial Protection Act of 2010, 12 U.S.C.

  §§ 5301 et seq. See 12 U.S.C. § 5581(b)(5).

         22.       Indeed only recently, and only after conflicting legislation has limited the CFPB’s

  ability to enforce the TSR, the CFPB has sought to enforce the TSR in relation to certain members

  of NACSO.

         23.       Specifically, less than a year after the TSR became effective, Congress passed the

  CROA legislation.

         24.       CROA was enacted in 1996 with the express purposes of ensuring “that prospective

  buyers of the services of credit repair organizations are provided with the information necessary

  to make an informed decision regarding the purchase of such services” and protecting “the public

  from unfair or deceptive advertising and business practices by credit repair organizations.” 15

  U.S.C. § 1679(b).

         25.       Importantly, CROA does not delegate rulemaking authority upon the FTC. See 15

  U.S.C. §§ 1679 et seq.

         26.       Instead, CROA simply permits the FTC to enforce the requirements or prohibitions

  of CROA. See 15 U.S.C. § 1679h.

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          27.    Congress’ decision to not delegate rulemaking authority to the FTC reflects the

  congressional intent for CROA, as written, to be the final and decisive law concerning credit repair

  organizations, including the time and manner of their billing practices.

          28.    This congressional intent is further reflected in the Consumer Financial Protection

  Act of 2010 that did not transfer the FTC’s CROA enforcement authority to the CFPB. See 15

  U.S.C. § 5581(b)(5).

          29.    Indeed, as recently as November 7, 2019, members of Congress confirmed this

  intent by communicating their understanding to the CFPB that not only did “the Federal Trade

  Commission, which enforces CROA, instruct[] credit repair organizations (CROs) and consumers

  that CROA is the law of the land with respect to billing regulations, but also, “with regard to

  CROs, the TSR is no longer operative[.]” See Exhibit A (emphasis added).

          30.    An explicit purpose of CROA is “to protect the public from unfair or deceptive

  advertising and business practices by credit repair organizations.” 15 U.S.C. § 1679(b)(2).

          31.    Towards this end, CROA prohibits persons from, inter alia:

                 (3) mak[ing] or us[ing] any untrue or misleading representation of the services of
                 the credit repair organization; or engag[ing], directly or indirectly, in any act,
                 practice, or course of business that constitutes or results in the commission of, or
                 (4) any attempt to commit, a fraud or deception on any person in connection with
                 the offer or sale of the services of the credit repair organization.

  15 U.S.C. §1679b.

          32.    The term “credit repair organization” is defined by CROA, in pertinent part, to

  mean:

                 any person who uses any instrumentality of interstate commerce or the mails to sell,
                 provide, or perform (or represent that such person can or will sell, provide, or
                 perform) any service, in return for the payment of money or other valuable
                 consideration, for the express or implied purposes of (i) improving any consumer’s
                 credit record, credit history, or credit rating; or (ii) providing advice or assistance
                 to any consumer with regard to any activity or service described in clause (i).

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  15 U.S.C. § 1679a(3)(A).

          33.        As is evident by a comparison of CROA and the TSR, both the legislative regime

  of CROA and the TSR regulations appear to seek to similarly regulate the conduct of persons

  seeking compensation for improving a consumer’s credit history, credit record, or credit rating in

  an attempt to prevent deceptive, misleading, and abusive behavior of such persons. Compare 15

  U.S.C. 1679a(3)(A) with 16 C.F.R. § 310.4(a)(2)(ii).

          34.        CROA—a federal statute codified by the democratically elected Congress—is

  broader than the TSR—a rule promulgated by appointed officials—in that CROA governs all

  credit repair organizations using any instrumentality of interstate commerce, which includes those

  engaging in telemarketing as well as those which do not engage in telemarketing.

          35.        However, CROA and the TSR conflict concerning when a credit repair organization

  may charge or receive compensation for the performance of its services.

          36.        Specifically, CROA states “[n]o credit repair organization may charge or receive

  any money or other valuable consideration for the performance of any service which the credit

  repair organization has agreed to perform for any consumer before such service is fully

  performed.” 15 U.S.C. § 1679b (emphasis added).

          37.        Whereas, the TSR provides a credit repair organization cannot “request[] or

  receiv[e] payment of any fee or consideration for [its] goods or services…until [t]he [credit repair

  organization] has provided the person with documentation in the form of a consumer report from

  a consumer reporting agency demonstrating that the promised results have been achieved, such

  report having been issued more than six months after the results were achieved.” 16 CFR §

  310.4(a)(2)(ii).




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         38.     Thus, a credit repair organization that is in full compliance with CROA—a federal

  statute passed by the democratically elected branches of government—may be deemed by the

  CFPB to nonetheless be in violation of the TSR—a rule promulgated by unelected officials—

  depending upon when the credit repair organization requests or receives compensation for its

  services.

         39.     A violation of the TSR is subject to enforcement by the FTC as an unfair or

  deceptive act or practice, including monetary penalties per violation, and by the CFPB as an unfair,

  deceptive, or abusive act or practice, including monetary penalties per violation. 15 U.S.C. §

  6102(c).

         40.     Understandably, this conflict has created extreme confusion and angst among the

  members of NACSO which seek to adhere to applicable laws and regulations.

         41.     The TSR is only applicable to credit repair organizations who communicate via

  telephone and request or receive payment for goods or services represented to improve a person’s

  credit history, credit record, or credit rating, which includes the removal of derogatory information

  from a person’s credit history.

         42.     By requiring credit repair organizations, including members of NACSO, to wait at

  least 6 months to receive compensation for services rendered, the TSR has a chilling effect on the

  fully-protected speech of credit repair organizations, including members of NACSO, in violation

  of the First Amendment.

         43.     Indeed and in addition to its conflict with CROA, the TSR’s six-month rule that the

  CFPB seeks to enforce against members of NACSO exceeds the statutory rulemaking authority

  conferred by Congress in the Telemarketing Act and, as applied, infringes on the fully-protected




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  speech of the members of NACSO by imposing unconstitutional barriers that, in light of the

  monetary penalties associated with a violation of TSR, suppress their protected speech.

          44.     The CFPB’s disdain for and unlawful targeting of credit repair organizations is

  further reflected in the CFPB’s recent instruction to consumer reporting agencies to not investigate

  “disputes submitted by credit repair organizations,” which instruction, if followed, precludes credit

  repair organizations from providing their valuable services in the first instance—namely, to

  remove derogatory information from a consumer’s credit report and/or to improve a consumer’s

  credit history, credit record, or credit rating (i.e., credit worthiness and credit standing).

          45.     There is an actual, justifiable controversy among the parties and a present need for

  a declaration as to the invalidity and unenforceability of the TSR.

          46.     Unless this Court grants the declaratory relief sought herein, the constitutional

  rights of NACSO and its members will continue to be injured by CFPB and its unlawful

  enforcement of the TSR.

          47.     Plaintiffs have performed all conditions precedent to bring this action or any said

  conditions have been satisfied, excused, or waived.

                                                COUNT 1
                    (Unlawful Agency Action in Excess of Statutory Authority)

          48.     NACSO incorporates by reference the allegations set forth in paragraphs 1 through

  47, supra.

          49.     The Telemarketing Act does not give the FTC or any agency, including the CFPB,

  authority to issue rules regulating the time or manner in which a person engaged in telemarketing

  deemed “abusive” by the TSR is compensated for the sale of such person’s good or services.

          50.     Instead, the Telemarketing Act gives the FTC the limited authority to issue the

  following rules concerning abusive telemarketing acts or practices:

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                (A) a requirement that telemarketers may not undertake a pattern of unsolicited
                telephone calls which the reasonable consumer would consider coercive or abusive
                of such consumer’s right to privacy, (B) restrictions on the hours of the day and
                night when unsolicited telephone calls can be made to consumers, (C) a requirement
                that any person engaged in telemarketing for the sale of goods or service shall
                promptly and clearly disclose to the person receiving the call that the purpose of
                the call is to sell goods or services and make such other disclosures as the
                Commission deems appropriate, including the nature and price of the goods and
                services; and (D) a requirement that any person engaged in telemarketing for the
                solicitation of charitable contributions, donations, or gifts of money or any other
                thing of value, shall promptly and clearly disclose to the person receiving the call
                that the purpose of the call is to solicit charitable contributions, donations, or gifts,
                and make such other disclosures as the Commission considers appropriate,
                including the name and mailing address of the charitable organization on behalf of
                which the solicitation is made.

  15 U.S.C. § 6102(a)(3).

         51.    Contrary to the only authority provided by Congress, the TSR reflects the

  unauthorized determination that a credit repair organization which uses telephones in interstate

  commerce and requests or receives compensation from a person for services rendered prior to

  providing such person “documentation in the form of a consumer report from a consumer reporting

  agency demonstrating that the promised results have been achieved, such report having been

  issued more than six months after the results were achieved,” engages in abusive acts or

  practices. 16 CFR § 310.4(a)(2)(ii) (emphasis added).

         52.    The promulgation of the TSR’s six-month rule exceeds the rulemaking authority

  provided under the Telemarketing Act and does not permit or support an interpretation of the

  Telemarketing Act to permit time and manner restriction on the payment for services rendered by

  credit repair organizations, which includes members of NACSO.

         53.    As such, the TSR’s time and manner restriction on the payment for services

  rendered by credit repair organizations, including members of NACSO, see 16 CFR §




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  310.4(a)(2)(ii), exceeds the delegated statutory rulemaking authority within the meaning of 5

  U.S.C. § 706(2)(C) and cannot be enforced by the CFPB.

         54.     Notwithstanding, even if the rulemaking authority delegated by Congress to the

  FTC pursuant to the Telemarketing Act is somehow determined to be broad enough to encompass

  the TSR’s regulation on the time or manner in which a credit repair organization can be

  compensated for its services, the subsequent enactment of CROA, which exclusively occupies the

  credit repair organization industry field by explicitly regulating such organizations, must trump

  such authority, broad or otherwise, of the FTC.

         55.     This is particularly so given that Congress chose to enact regulations and

  prohibitions upon credit repair organizations at the federal level through the passage of CROA

  and, importantly, did not delegate rulemaking authority to the FTC or any agency, including the

  CFPB. Surely if Congress wanted to have the FTC or any agency interpret or promulgate rules

  concerning CROA, it would have delegated such authority.

         56.     Instead, Congress chose to permit the FTC only to enforce CROA as written.

         57.     While the TSR’s six-month rule could perhaps have been valid at one point in time

  concerning credit repair organizations, the TSR lost its validity and applicability because any

  rulemaking authority the FTC or any agency, including the CFPB, may have had regarding credit

  repair organizations pursuant to the TSR was forfeited upon the enactment of CROA.

         58.     CROA supersedes and invalidates the TSR’s six-month rule concerning credit

  repair organizations.

         59.     As a result, the TSR is unlawful and inapplicable to credit repair organizations

  already governed by the statutory scheme set forth in CROA.




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                                          COUNT II
                (Unconstitutional Content-Based restriction on Protected Speech)

         60.     NACSO incorporates by reference the allegations set forth in paragraphs 1 through

  47, supra.

         61.     The First Amendment prohibits discrimination as to the content of speech or the

  identity of the speaker. Reed v. Town of Gilbert, 576 U.S. 155, (2015) (“Government regulation of

  speech is content based if a law applies to particular speech because of the topic discussed or the

  idea or message expressed.”)

         62.     The TSR is based on the content of the speech, which includes the identity of the

  speaker. U.S. v. Playboy Entertainment Group, Inc., 529 U.S. 803, 812 (2000).

         63.     Content-based speech restrictions are subject to strict scrutiny. Id., 529 at 813.

         64.     Because the TSR regulates, indeed chills, speech based on its content, “it must be

  narrowly tailored to promote a compelling Government interest. If a less restrictive alternative

  would serve the Government’s purpose, the legislature must use that alternative.” Id. (internal

  citation omitted).

         65.     Defendant bears the burden of demonstrating that the TSR is narrowly tailored to

  further a compelling interest which they are entitled to protect using the least restrictive means

  available. See Secretary of the State of Md., v. Joseph H. Munson Co., 467 U.S. 947, 959-960

  (1984); Village of Schaumburg v. Citizens for a Better Environment, 444 U.S. 620, 636 (1980).

         66.     TSR is not narrowly tailored to further a compelling government interest through

  the use of the least restrictive means available, as evidenced by Congress’s passage of CROA that

  prohibits payments to credit repair organizations “before such service is fully performed.” 15

  U.S.C. § 1679b(b).




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          67.     These crucial differences as to the timing of payment to credit repair organization

  for services rendered (i.e., “before such service is fully performed” v. “report having been issued

  more than six months after the results were achieved”) underscore the intent of Congress when

  enacting the Telemarketing Act and CROA and the unlawful and excessive scope and application

  of the TSR regulation the CFPB seeks to enforce.

          68.     The TSR prohibits the credit repair organization industry, and only the credit repair

  organization industry, from requesting or receiving compensation for services for an arbitrary time

  period of at least 6 months after services are rendered. As applied, the TSR targets the credit repair

  organization industry and chills the fully-protected speech rights of those credit repair

  organizations, including members of NACSO, based upon the content of the communication—

  namely, “goods or services represented to remove derogatory information from, or improve, a

  person’s credit history, credit record, or credit rating.”

          69.     Indeed, should the credit repair organization “represent[] to…improve a person’s

  credit history, credit record, or credit rating” and accomplish just that, but 5 months later the

  consumer then independently damages his/her credit record through no fault of the credit repair

  organization thereby negating the “represented…improve[ment,]” such credit repair organization

  would never be compensated for its services despite accomplishing precisely what it represented

  it would accomplish on behalf of the consumer.

          70.     In such a situation, credit repair organizations are improperly targeted and,

  furthermore, could cease to exist, thus being unable to even communicate or assist consumers. As

  a result, the TSR, as applied, is “presumptively inconsistent with the First Amendment [because]

  it imposes a financial burden on speakers because of the content of their speech.” Simon v.

  Schuster, Inc. v. Members of New York State Crime Victims Bd., 502 U.S. 105, 115 (1991).



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         71.     The TSR is “contrary to constitutional right, power, privilege or immunity.” 5

  U.S.C. § 706(2)(B).

         72.     Accordingly, the TSR is unlawful.

                                           COUNT III
                                    (The TSR is Underinclusive)

         73.     NACSO incorporates by reference the allegations set forth in paragraphs 1 through

  47 and 60 through 72, supra.

         74.     A law is underinclusive and thus not narrowly tailored “when it discriminates

  against some speakers but not others without a legitimate ‘neutral justification’ for doing so. Even

  when the government has a compelling interest for restricting speech, it may not seek to further

  that interest by creating arbitrary distinctions among the speakers that bear no ‘reasonable fit’ to

  the interest at hand. ” Nat’l Fed. of the Blind, v. F.T.C., 420 F.3d 331, 345 (4th Cir. 2005) (citing

  City of Cincinnati v. Discovery Network, Inc., 507 U.S. 410-417 (1993)).

         75.     An underinclusive law “raises serious doubt about whether the government is in

  fact pursuing the interest it invokes, rather than disfavoring a particular speaker or viewpoint.”

  Brown v. Entertainment Merchs. Ass’n, 564 U.S. 786, 802 (2011).

         76.     The TSR is underinclusive because it prohibits the credit repair organization

  industry, and only the credit repair organization industry, from requesting or receiving

  compensation for services for an arbitrary time period of at least 6 months after services are

  rendered.

         77.     The speech of credit repair organizations, including members of NACSO, is no

  more harmful than other speech allowed by TSR that is not regulated as to time or manner of

  payment.




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         78.       There is no relation between any legitimate government interest upon which the

  TSR is predicated and the speech banned, muzzled, chilled, regulated, or allowed by the TSR.

         79.       As such, the TSR, as an impermissible means of advancing any legitimate interest

  of the government, is unconstitutional.

                                        PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, Nacso Non-Profit Business League Inc., respectfully requests

  the following relief and judgment from this Court:

         (a)       A declaration that the TSR violates the United States Constitution and is, thus,

  unenforceable;

         (b)       A declaration that the promulgation of the TSR unlawfully exceeds the delegated

  statutory rulemaking authority under the Telemarketing Act, and conflicts and was superseded

  by CROA, which renders the TSR invalid and unlawful;

         (c)       An order awarding Plaintiff, Nacso Non-Profit Business League Inc., any

  supplemental relief including, but not limited to, its costs and attorneys’ fees incurred in bringing

  this action to the greatest extent permitted by applicable law; and

         (d)       Any such other and further relief as this Court deems just and proper in favor of

  Plaintiff, Nacso Non-Profit Business League Inc.

  Dated: May 21, 2020                                    Respectfully submitted,

                                                          /s/ Beth-Ann E. Krimsky
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